
41 So.3d 432 (2010)
R.P., Petitioner,
v.
DEPARTMENT OF CHILDREN AND FAMILIES and the Guardian Ad Litem Program, Respondent.
No. 3D10-1855.
District Court of Appeal of Florida, Third District.
August 11, 2010.
Joseph P. George, Jr., Criminal Conflict and Civil Regional Counsel, and Kevin Coyle Colbert and Richard F. Joyce, for petitioner.
Karla Perkins, Children Legal Services Appellate Counsel; Hillary S. Kambour, Appellate Counsel, Guardian Ad Litem Program, for respondents.
Before COPE, SHEPHERD, and CORTIÑAS, JJ.

CONFESSION OF ERROR
PER CURIAM.
Based upon proper confession of error, we grant the petition for writ of certiorari and quash the trial court's order for continuous alcohol monitoring.
Petition for writ of certiorari granted; order quashed; case remanded.
